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UNITED STA TES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                   X


UNITED STATES OF AMERICA
                                                           CONSENT PRELIMINARY ORDER
               - V. -                                      OF FORFEITURE/
                                                           MONEY JUDGMENT
DA YID HOLLAND,
   a/k/a "David Black"                                     S2 18 Cr. 908 (SHS)
   a/k/a "Shysty"
   a/k/a "Donelle Holland"

                        Defendant.
----------------------------------                   X


               WHEREAS , on or about October 1, 2019, DAVID HOLLAND (the "Defendant"),

was charged in a nine-count Superseding Indictment, S2 18 Cr. 908 (SHS) (the "Indictment"), with

conspiracy to commit Hobbs Act Robbery, in violation of Title 18, United States Code, Section

1951 (Count One); Hobbs Act Robbery, in violation of Title 18, United States Code, Sections 1951

and 2 (Counts Two, Four, Five and Six); possession of a firearm during and in furtherance of a

robbery, in violation of Title 18, United States Code, Sections 924( c)( l )(A)(i), (ii) and 2 (Counts

Three, Seven and Nine) ; and attempted Hobbs Act Robbery, in violation of Title 18, United States

Code, Sections 1951 and 2 (Count Eight);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts Two Four,

Five, Six and Eight, seeking forfeiture to the United States, pursuant to Title 18, United States

Code, Section 98l(a)(l)(C), and Title 28, United States Code, Section 246l(c), of any and all

property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of the offenses charged in Counts Two, Four, Five, Six and Eight of the Indictment,

including but not limited to a sum of money in United States currency representing the amount of

proceeds traceable to the commission of the offenses charged in Counts Two, Four, Five, Six, and

Eight of the Indictment that the Defendant personally obtained;
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               WHEREAS, on or about October 4, 2019, the Defendant pied guilty to Counts Two,

Four, Five, Six, and Eight of the Indictment, pursuant to a plea agreement with the Government,

wherein the Defendant admitted the forfeiture allegation with respect to Counts Two, Four, Five,

Six and Eight and agreed to forfeit to the United States, pursuant to Title 18, United States Code,

Section 98l(a)(1)(C) and Title 28, United States Code, Section 2461(c), to a sum of money in

United States currency representing the amount of proceeds traceable to the commission of the

offenses described in Counts Two, Four, Five, Six, and Eight charged in the Indictment that the

Defendant personally obtained;

               WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $4,300 in United States currency representing the amount of proceeds traceable to the

offenses charged in Counts Two, Four, Five, Six and Eight of the Indictment that the Defendant

personally obtained; and

                WHEREAS , the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offenses charged in Counts Two, Four, Five, Six and

Eight of the Indictment that the Defendant personally obtained cannot be located upon the exercise

of due diligence.

               IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorney, Jacob H. Gutwillig of counsel, and the Defendant, and his counsel , Renato C. Stabile,

Esq. , that:

               1.      As a result of the offenses charged in Counts Two, Four, Five, Six and Eight

of the Indictment, to which the Defendant pied guilty, a money judgment in the amount of $4,300

in United States currency (the "Money Judgment"), representing the amount of proceeds traceable
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to the offenses charged in Counts Two, Four, Five, Six and Eight of the Indictment that the

Defendant personally obtained, shall be entered against the Defendant.

               2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, DAVID

HOLLAND , and shall be deemed part of the sentence of the Defendant, and shall be included in

the judgment of conv iction therewith .

               3.      All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney's Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew' s

Plaza, New York, New York 10007 and shall indicate the Defendant' s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21 , United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney' s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.
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              7.      The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

              8.      The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney' s Office, One St. Andrew's Plaza, New York, New York 10007.




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               9.     The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

                       Digitally signed by
       JACOB           JACOB GUTWILLIG
                       Date: 2020.10.13                             October 13, 2020
By:
       GUTWILLIG       23:55:44 -04'00'

       Jacob H. Gutwillig                                           DATE
       Assistant United States Attorney
       One St. Andrew's Plaza
       New York, NY 10007
       (212) 637-2215


DA YID HOLLAND


By:    Vauid?I~ (r?~ 1::es1                                         10/13/2020
       DA YID HOLLAND                                               DATE




By:     1::~e. s ~                                                  10/13/2020
       Renato C. Stabile, Esq.                                      DATE
       Attorney for Defendant
       580 Broadway, Ste. 400
       New York, New York 10012



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           BLE IDNEY H. STEIN
              ES DISTRICT JUDGE
